Case 1:13-cV-03127-PKC Document 484

.- § m

v

,

UNITED sTATEs DlsTRlcT CoURT ~. t umw
soUTHERN DlsTRlcT or NEW YoRK . ”°c*'." -; ` s -' 'T ~ g f
___________________________________________________________ x -DATE FiLEo=./O-._?-)g ,' .
RICK HARRIsoN, et al., ` . "

Plaintiffs, 13-cv-3127 (PKC)

-against- ORDER

REPUBLIC or sUr)AN,

Defendant.
___________________________________________________________ X

CASTEL, U.S.D.J.

Para graph 4 of the Stipulation of Order and Judgment Concerning Turnover of
Blocked Property Held By Respondent/Garnishee Standard Chartered Bank (Dkt. 464) is
modified to extend the time for the U.S. Marshal to deliver funds received from Standard
Chartered Banl< to Petitioners’ counsel of record from 10 days to 45 days. Petitioners’ counsel

of record shall notify the U.S. Marshal of payment instructions forthwith.

so oRDERED. W

/ P/Kevin Castel
United States District Judge

Dated: New York, New York
October 7, 2016

 

